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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                        )
In re                                   )                   Chapter 11
                                        )
TOUGH MUDDER INC., et al., 1            )                   Case No. 20-10036 (CSS)
                                        )
                                        )                   Jointly Administered
                                        )
                                        )                   Objection Deadline:
                                        )                   March 11, 2020, at 4:00 p.m. (EDT)
                                        )                   Hearing Date:
                                        )                   March 23, 2020, at 2:00 p.m. (EDT)
                                        )
_______________________________________ )

        CHAPTER 11 TRUSTEE’S APPLICATION FOR ENTRY OF AN ORDER
        UNDER SECTIONS 327(a) AND 328(a) OF THE BANKRUPTCY CODE,
    BANKRUPTCY RULES 2014 AND 2016, AND LOCAL RULES 2014-1 AND 2016-
    1 AUTHORIZING RETENTION AND EMPLOYMENT OF MORRIS, NICHOLS,
       ARSHT & TUNNELL LLP AS COUNSEL FOR THE TRUSTEE NUNC PRO
                     TUNC TO THE APPOINTMENT DATE

                Derek C. Abbott, Esq., the chapter 11 trustee (the “Trustee”) for Tough Mudder

Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events” and, together

with Tough Mudder, the “Debtors”), in the above-captioned chapter 11 cases (the “Chapter 11

Cases”) submits this application (the “Application”) for entry of an order, substantially in the

form attached hereto as Exhibit A, pursuant to sections 327(a) and 328(a) of title 11 of the

United States Code (the “Bankruptcy Code”), rules 2014 and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), authorizing the retention and employment of Morris,

Nichols, Arsht & Tunnell LLP (“Morris Nichols”) as counsel for the Trustee nunc pro tunc to

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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
        The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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January 30, 2020 (the “Appointment Date”). In support of the Application, the Trustee relies

upon and incorporates by reference the Declaration of Matthew B. Harvey in Support of the

Chapter 11 Trustee’s Application for Entry of an Order Under Sections 327(a) and 328(a) of the

Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2014-1 and 2016-1

Authorizing Retention and Employment of Morris, Nichols, Arsht & Tunnell LLP as Counsel for

the Trustee Nunc Pro Tunc to the Appointment Date (the “Harvey Declaration”), attached hereto

as Exhibit B. In further support of the Application, the Trustee respectfully states as follows:

                                        JURISDICTION

               1.      The United States Bankruptcy Court for the District of Delaware (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated as of February 29, 2012. Venue is proper pursuant to 28 U.S.C. §§ 1408 and

1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

               2.      Pursuant to Local Rule 9013-1(f), the Trustee consents to the entry of a

final order by the Court in connection with this Application to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

               3.      The statutory bases for the relief requested herein are sections 327(a) and

328(a) of the Bankruptcy Code, as supplemented by Bankruptcy Rules 2014(a) and 2016 and

Local Rules 2014-1 and 2016-1.

                                        BACKGROUND

               4.      On January 7, 2020 (the “Petition Date”), Valley Builders LLC,

Trademarc Associates, Inc., and David Watkins Homes Inc. (collectively, the “Petitioning




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Creditors”) filed involuntary petitions under chapter 11 of the Bankruptcy Code against Tough

Mudder and TM Events.

               5.     A more detailed description of the Debtors’ business, corporate structure,

prepetition indebtedness, and events leading to the bankruptcy filings is set forth in the

Declaration of Kyle McLaughlin in Support of Chapter 11 Trustee’s Motion for Entry of an

Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement by and

Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of

Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and

Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related

Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief (the

“McLaughlin Declaration”). 2 This Application incorporates by reference the facts set forth in

the McLaughlin Declaration as if fully set forth herein.

               6.     On January 21, 2020, the Court entered the Order Directing the

Appointment of a Chapter 11 Trustee [D.I. 18] and the Order for Relief in Involuntary Case [D.I.

19]. The Court entered an order approving the appointment of the Trustee on the Appointment

Date [D.I. 24], and the Trustee accepted his appointment on January 31, 2020 [D.I. 25]. Since

that time, the Trustee has managed the Debtors’ affairs pursuant to section 1106 of the

Bankruptcy Code. No official committee has been appointed in the Chapter 11 Cases.




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       The McLaughlin Declaration is attached as Exhibit C to the Chapter 11 Trustee’s Motion for
       Entry of an Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement
       by and Among Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of
       Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and
       Interests, (III) Approving the Assumption and Assignment of Certain Contracts and Related
       Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief [D.I. 30].


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                                         RELIEF REQUESTED

                 7.         The Trustee desires to retain and employ Morris Nichols as his counsel.

By this Application, the Trustee respectfully requests entry of an order, substantially in the form

attached hereto as Exhibit A, pursuant to sections 327(a) and 328(a) of the Bankruptcy Code,

Bankruptcy Rules 2014 and 2016, and Local Rules 2014-1 and 2016-1, authorizing the Trustee

to retain and employ Morris Nichols as his counsel nunc pro tunc to the Appointment Date to

represent the Trustee in all phases of the Chapter 11 Cases.

                                          BASIS FOR RELIEF

                 8.         Under section 327(a) of the Bankruptcy Code, a trustee may employ one

or more attorneys to represent the trustee in carrying out the trustee’s duties under the

Bankruptcy Code, provided that such attorneys are disinterested persons and do not hold or

represent an interest adverse to the estate. 11 U.S.C. § 327(a) (2018). Section 101(14) of the

Bankruptcy Code defines “disinterested person” as one who

                            (A) is not a creditor, an equity security holder, or an
                 insider;

                         (B) is not and was not, within 2 years before the date of the
                 filing of the petition, a director, officer, or employee of the debtor;
                 and

                         (C) does not have an interest materially adverse to the
                 interest of the estate or of any class of creditors or equity security
                 holders, by reason of any direct or indirect relationship to,
                 connection with, or interest in, the debtor, or for any other reason.


Id. § 101(14).

                 9.         The Trustee has engaged Morris Nichols as his counsel in connection with

his appointment and, subject to the entry of an order approving the retention of Morris Nichols,

the prosecution of the Chapter 11 Cases.



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               10.    The Trustee seeks to retain and employ Morris Nichols because the firm’s

attorneys have extensive experience representing clients in chapter 11 cases before this Court,

including debtors in possession and trustees in chapter 11 cases. The firm’s attorneys are

familiar with many of the potential legal issues which may arise in the context of the Chapter 11

Cases. Further, Morris Nichols assisted the Trustee by quickly analyzing the various legal issues

involved in the Chapter 11 Cases and advising the Trustee on his duties and responsibilities

under the Bankruptcy Code. For these reasons, Morris Nichols is well qualified to represent the

Trustee as counsel.

               11.    The Trustee requests approval of the employment of Morris Nichols nunc

pro tunc to the Appointment Date. Nunc pro tunc relief is warranted in these cases. The Third

Circuit has identified “time pressure to begin service” and absence of prejudice as factors

favoring nunc pro tunc retention. See In re Arkansas Co., 798 F.2d 645, 650 (3d Cir. 1986); see

also Indian River Homes, Inc. v. Sussex Tr. Co., 108 B.R. 46, 52 (D. Del. 1989). Given the size

and complexity of the Chapter 11 Cases, and the immediate need to seek an order approving a

sale of the Debtors’ assets, the Trustee was not able to seek approval of Morris Nichols’s

retention before Morris Nichols began work. Nonetheless, the Trustee and Morris Nichols have

filed this Application as soon as practically possible. Under these circumstances, no party will

be prejudiced and nunc pro tunc retention should be approved.

                  SERVICES TO BE PROVIDED BY MORRIS NICHOLS

               12.    The Trustee believes that the services of Morris Nichols are necessary to

enable him to faithfully execute his duties as chapter 11 trustee. Subject to further order of this

Court, Morris Nichols will perform the following professional services for or on behalf of the

Trustee in the Chapter 11 Cases:




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                        a.      perform all necessary services as the Trustee’s counsel,
                                including, without limitation, providing the Trustee with
                                advice, representing the Trustee, and preparing
                                necessary documents on behalf of the Trustee in the
                                areas of restructuring and bankruptcy;

                        b.      take all necessary actions to protect and preserve the
                                Debtors’ estates during the Chapter 11 Cases, including
                                the prosecution of actions by the Trustee, the defense of
                                any actions commenced against the Trustee, negotiations
                                concerning litigation in which the Debtors and/or the
                                Trustee is involved, and objecting to claims filed against
                                the estates;

                        c.      prepare or coordinate preparation on behalf of the
                                Trustee any necessary motions, applications, answers,
                                orders, reports, and papers in connection with the
                                administration of the Chapter 11 Cases;

                        d.      counsel the Trustee with regard to his rights and
                                obligations as chapter 11 trustee;

                        e.      coordinate with the Trustee’s other professionals in
                                representing the Trustee in connection with these cases;
                                and

                        f.      perform all other necessary or requested legal services.

                13.     Morris Nichols will work with the Trustee’s other professionals to avoid

unnecessary duplication of efforts and to represent the Trustee in an efficient and cost-effective

manner.

                14.     The Trustee believes that Morris Nichols’s employment is in the best

interests of the Debtors, their estates, and their creditors.

                15.     Subject to this Court’s approval of the Application, Morris Nichols is

willing to serve as the Trustee’s counsel and to perform the services described above.

                       DISINTERESTEDNESS OF MORRIS NICHOLS

                16.     To the best of the Trustee’s knowledge, information, and belief, and

except as otherwise set forth herein and in the Harvey Declaration, no Morris Nichols partners,



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counsel, or associates hold or represent any interest adverse to the Debtors’ estates or their

creditors, and Morris Nichols is a “disinterested person,” as defined in section 101(14) of the

Bankruptcy Code.

               17.     Morris Nichols does not, and has not, represented any entities, other than

the Trustee, in matters related to the Chapter 11 Cases, except to the extent otherwise indicated

in the Harvey Declaration. Morris Nichols may represent, or may have represented in the past,

certain parties with interests in the Debtors’ cases on matters unrelated to their Chapter 11 Cases.

As set forth in the Harvey Declaration, Morris Nichols has conducted, and continues to conduct,

research into its relations with the Debtors, their substantial creditors and equity security holders,

and other parties interested in these cases. As part of this inquiry, Morris Nichols obtained the

names of individuals or entities that may be parties in interest in the Chapter 11 Cases (the

“Potential Parties in Interest,” attached to the Harvey Declaration as Schedule 1). Morris

Nichols then entered the names of Potential Parties in Interest into a computer database

containing the names of all clients and conflict information concerning the clients of Morris

Nichols.

               18.     From the results of this inquiry, Morris Nichols compiled a list (the

“Client Match List”) of Potential Parties in Interest that are current or former Morris Nichols

clients. The Client Match List is divided into two schedules of current and former clients,

respectively. Current clients are listed on Schedule 2 attached to the Harvey Declaration and

former clients are listed on Schedule 3 attached to the Harvey Declaration. Through additional

inquiry, Morris Nichols has determined its representations of clients on the Client Match List

concern matters unrelated to the Debtors and the chapter 11 cases, except to the extent otherwise

indicated in the Harvey Declaration. Further, although Morris Nichols values all of its clients,




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the entities listed on the Client Match List do not represent significant financial revenues for

Morris Nichols.

               19.     Although Morris Nichols has undertaken, and continues to undertake,

efforts to identify connections with the Trustee, the Debtors, and other parties in interest, it is

possible that connections with some parties in interest have not yet been identified. Should

Morris Nichols discover additional connections of the nature described above, Morris Nichols

will promptly supplement the disclosures in the Harvey Declaration.

                             PROFESSIONAL COMPENSATION

               20.     As set forth in the Harvey Declaration, the Trustee retained Morris

Nichols on January 30, 2020.

               21.     Except as set forth in the Harvey Declaration, Morris Nichols has not been

paid any other compensation by the Trustee in connection with the Chapter 11 Cases, and Morris

Nichols is not a creditor of the Debtors.

               22.     In addition, compensation will be based upon the hours actually expended

by each assigned professional at each professional’s hourly billing rate, as detailed further in the

Harvey Declaration. Subject to Court approval in accordance with Bankruptcy Code sections

330 and 331, the Bankruptcy Rules, the Local Rules, and the orders of this Court, the Trustee

proposes to compensate Morris Nichols for professional services rendered at its normal and

customary hourly rates in effect from time to time as set forth in the Harvey Declaration.

               23.     Morris Nichols will also seek reimbursement for reasonable and necessary

expenses incurred, which shall include travel, photocopying, delivery service, postage, vendor

charges, and other out-of-pocket expenses incurred in providing professional services, charged at

cost.




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               24.     Morris Nichols intends to apply to the Court for the allowance of

compensation for professional services rendered and reimbursement of expenses incurred in

accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, and any relevant orders of the Court.

                                             NOTICE

               25.     No creditors’ committee or examiner has been appointed in the Chapter 11

Cases. A copy of this Application will be served via hand delivery, first-class mail, and/or

electronic mail, where available and as applicable, upon: (a) the Office of the United States

Trustee for the District of Delaware; (b) the Debtors’ 20 largest unsecured creditors on a

consolidated basis; and (c) any other party that has requested notice pursuant to Local Rule

2002-1(b). The Trustee submits that, in light of the nature of the relief requested, no other or

further notice need be provided.

                                         CONCLUSION

              WHEREFORE, the Trustee respectfully requests that the Court: (i) grant this

Application and the relief requested herein; (ii) enter the proposed order attached hereto as

Exhibit A; and (iii) grant such other and further relief as it deems just and proper.


Dated: February 26, 2020
                                       /s/ Derek C. Abbott
                                       Derek C. Abbott
                                       Chapter 11 Trustee for Tough Mudder Inc. and Tough
                                       Mudder Event Production Inc.




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